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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                   8:18CR62

      vs.
                                                                  ORDER
JUSTIN J. BERTSCHINGER and WENDY
BERTSCHINGER

                    Defendant.


              This matter is before the court on the court’s own motion pursuant to 28

U.S.C. § 455(a), which states: “Any . . . judge . . . of the United States shall disqualify

himself in any proceeding in which his impartiality might reasonably be questioned.”

Upon review of the parties and the record in the above-designated case, the

undersigned judge shall, and hereby does, recuse herself from the above-designated

case pursuant to 28 U.S.C. § 455(a).



       SO ORDERED.

       Dated this 2nd day of May, 2018

                                                 BY THE COURT:

                                                 s/ Laurie Smith Camp
                                                 Chief United States District Judge
